
USCA1 Opinion

	










                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________


        No. 95-1668


                                   VICTOR ALVAREZ,

                                Plaintiff, Appellant,

                                          v.

                              UNITED STATES OF AMERICA,

                                 Defendant, Appellee.

                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                  [Hon. Carmen Consuelo Cerezo, U.S. District Judge]
                                                ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                            Cyr and Stahl, Circuit Judges.
                                           ______________

                                 ____________________

            Victor Alvarez on brief pro se.
            ______________
            Guillermo Gil, United States Attorney,  Sonia I. Torres, Assistant
            _____________                           _______________
        United States Attorney, and Jos  A. Quiles-Espinosa, Senior Litigation
                                    _______________________
        Counsel, on brief for appellee.


                                 ____________________

                                    August 2, 1996
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                      Per  Curiam.   This is  an  appeal from  a district
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            court order  denying a  motion by  petitioner Alvarez  to set

            aside his conviction and sentence.  See 28 U.S.C.   2255.  We
                                                ___

            affirm the judgment for the following reasons. 

                      (1)  Petitioner alleges a deprivation of his rights

            to confrontation, compulsory process,  due process and  equal

            protection of the laws, in  a trial court ruling that limited

            the  scope  of  co-defendant Flores's  testimony.    The same

            arguments   were   raised,   considered,   and  rejected   on

            petitioner's  direct appeal.   United States v.  Alvarez, 987
                                           _____________     _______

            F.2d 77, 81-83 (1st Cir.), cert. denied, 510 U.S. 849 (1993).
                                       ____________

            They may not be resurrected on collateral review.  See Murchu
                                                               ___ ______

            v. United States,  926 F.2d 50, 55 (1st  Cir.), cert. denied,
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            502 U.S. 828 (1991).

                      (2)  Petitioner alleges  ineffective assistance  of

            counsel  at trial,  and related  deprivations  of his  rights

            under  the  Fourteenth  Amendment,  in  connection  with  the

            erroneous  admission  into evidence  of  co-defendant Matos's

            pre-trial  statement.   However, to  sustain  such a  claim a

            petitioner  must show  prejudice, meaning  that  but for  his

            counsel's  alleged error the  result of the  proceeding would

            have been  different.   See Argencourt  v. United  States, 78
                                    ___ __________     ______________

            F.3d 14,  15 (1st Cir.  1996).  On direct  appeal, petitioner

            made the  same argument as  to prejudice that he  makes here,

            i.e., that "spillover prejudice" from the erroneous admission



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            of Matos's statement entitled him to a reversal or new trial.

            A  panel of  this  court concluded  that  although Matos  was

            entitled to  a reversal  due to the  error, as  to petitioner

            there  was sufficient evidence to sustain the jury's verdict.

            Alvarez,  987  F.2d at  83-84.    Thus  this claim,  too,  is
            _______

            foreclosed by the decision on  direct review, and we need not

            reach   petitioner's   allegation    that   trial   counsel's

            performance in this regard was deficient.

                      (3) Petitioner claims that the district court erred

            at sentencing in  attributing to him the total  weight of the

            cocaine found  in all  three codefendants'  suitcases.   This

            alleged  nonconstitutional, nonjurisdictional  error was  not

            raised on direct appeal.   It may not  be considered for  the

            first  time under     2255 absent  a showing  of "exceptional

            circumstances"  amounting  to   a  complete  miscarriage   of

            justice.  Knight  v. United States, 37 F.3d  769, 772-73 (1st
                      ______     _____________

            Cir. 1994).  No exceptional circumstances were shown here.1
                                                                      1

                      Although no other issues are raised in petitioner's

            briefs, appellee spontaneously  argues that defense counsel's

            failure  to call  petitioner as  a witness  at the  trial was

            probably  a deliberate  strategic decision.   Petitioner  now


                                
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               1   While this case  was pending on appeal,  the President
               1
            signed into law the Antiterrorism and Effective Death Penalty
            Act of 1996, Pub. L. 104-132, 110 Stat. 1214 (Apr. 24, 1996).
            Although neither party has raised  the issue, we note that we
            need not  decide in this  case whether any of the  amendments
            in the Act apply, since it would not alter our disposition.

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            contends that  he needs  the assistance of  counsel to  brief

            this  new question.   As  the  issue itself  is not  properly

            before us (it was not squarely presented to the court below),

            and  in  any event  we  see  no  reason to  appoint  counsel,

            petitioner's supplementary memorandum seeking reconsideration

            of our order denying an appointment of counsel is denied.    
                                                              ______



                      The judgment below is affirmed.
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